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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF SOUTH DAKOTA

                                      SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                                              CR 22-40033

                         Plaintiff,
         VS.                                                               ORDER

 SKY THOMAS ROUBIDEAUX,

                        Defendant.
       Defendant filed a motion in limine for extended voii; dire (doc. 68), and he proposed two
                                                           V
additionaljury instructions (doc. 69).

       Defendant's Proposed Jury Instruction Number 11 is an instruction that was given by Judge
Mark Bennett relating to "implicit biases" ofjurors. (Doc. 69 at p. 2.) A district court is not
required to inquire into implicit bias at the defendant's request. See United States v. Young, 6 F.4th
804, 809 (8th Cir. 2021). The Court concludes that the Eighth Circuit Model Jury Instruction 3.02
adequately conveys the law in the Eighth Circuit onjuror bias, and the Eighth Circuit instruction
will be given in this case.

        Defendant's Proposed Jury Instruction Number 12 is a pattern instruction from the Tenth
Circuit regarding statements given by a defendant to law enforcement officials. (Doc. 69.) The
Eighth Circuit has determined that its Model Jury Instruction 2.07 properly instructs the jury
regarding how much weight it should give to a defendant's statement. See United States v. Davis,
936 F.2d 352, 355 (8th Cir. 1991). The Committee Comments to Model Jury Instruction 2.07
state, in part, that if a court determines the defendant's statement is voluntary and admissible, the
court "should then permit the jury to hear evidence on the issue of voluntariness and give the
present instruction." Manual ofModel Criminal Jury Instructions For The District Courts OJThe
Eighth Circuit (2022). The Court will follow the Eighth Circuit's directions, and the pattern
instruction from the Eighth Circuit regarding statements by a defendant will be given to thejury.

        The motion in limine requests voir dire exploring racial bias, sexual orientation bias, false
confessions and the presumption of innocence. (Doc. 68.) The Court grants the motion in limine,
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but the voir dire on false confessions will be confined to the directives in the Eighth Circuit's
pattern instruction 2.07:

                                     2.07 STATEMENT BY DEFENDANT
              You have heard testimony that [the defendant] [defendant (name)] made a
       statement to (name of person or agency). It is for you to decide:
               First, whether [the defendant] [defendant (name)] made the statement; and
               Second, if so, how much weight you should give to it.
               [In making these two decisions you should consider all of the evidence, including
       the circumstances under which the statement may have been made.]
Manual ofModel Criminal Jury Instructions For The District Courts OJThe Eighth Circuit (2022),
No. 2.07.

       The Court will conduct voir dire and then will allow follow-up by the lawyers. The Court
in this case will allow 25 minutes of voir dire per party, that being more than the Court normally
allows. Accordingly,

               IT IS ORDERED that Defendant's Motion In Limine for Extended Voir Dire
       is granted as limited in this Order. (Doc. 68.)

       Dated this   (l'O; day of April, 2023.
                                                BY THE COURT:


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                                                 awrence L. Piersol
                                                United States District Judge




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